

Yucca Holding Corp. v Labarre (2023 NY Slip Op 51204(U))



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Yucca Holding Corp. v Labarre


2023 NY Slip Op 51204(U)


Decided on November 17, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on November 17, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, J.



23-051

Yucca Holding Corp., Petitioner-Landlord-Appellant, -
againstNatalie Labarre, Rose Labarre, and Camile Labarre, Respondents-Occupants-Respondents, and "John Doe" and "Jane Doe," Respondents-Underoccupants.




Landlord, as limited by its brief, appeals from that portion of an order of the Civil Court of the City of New York, New York County (Jean T. Schneider, J.), dated November 4, 2021, which denied its motion for costs and sanctions pursuant to 22 NYCRR 130-1.1, in a holdover summary proceeding.




Per Curiam.
Order (Jean T. Schneider, J.), dated November 4, 2021, affirmed, with $10 costs.
Civil Court providently exercised its discretion in denying landlord's motion for costs and sanctions pursuant to the Rules of the Chief Administrator of the Courts (22 NYCRR) § 130-1.1. Contrary to landlord's contention, the conduct of respondents' counsel at the deposition, which involved directing his client not to answer three (arguably improper) questions, was not so egregious as to rise to the level of frivolous conduct sufficient to warrant the imposition of monetary sanctions and the award of legal fees and costs pursuant to 22 NYCRR § 130-1.1 (see Pinnock v Mercy Med. Ctr., 180 AD3d 1086, 1087-1088 [2020]). We note that the deposition was completed on a separate date and the questions were answered, without court intervention.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur
Decision Date: November 17, 2023









